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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 ROBERT STRANGE,                                  §
                                                  §
        Plaintiff,                                §
                                                  §
 v.                                               §
                                                        CIVIL ACTION NO. 4:23-cv-00796
                                                  §
 U.S. BANK TRUST COMPANY, N.A.,                   §
                                                  §
        Defendant.                                §

                        DEFENDANT’S REPLY IN SUPPORT OF
                       ITS MOTION FOR SUMMARY JUDGMENT

       In his Response to Defendant’s Motion for Summary Judgment, Plaintiff asserts new

arguments unrelated to his Complaint. The Response relies heavily on Plaintiff’s Proposed

Amended Complaint, introduced in Plaintiff’s Motion for Leave to Amend Pleadings (“Motion for

Leave”) (Doc. 18). Plaintiff’s Motion for Leave was filed after Trustee Bank’s Motion for

Summary Judgment (the “Motion”) in an attempt to save Plaintiff’s case by asserting a new and

unsupported theory involving an acceleration that allegedly occurred on June 03, 2008. (Doc. No.

17 p. 2). This new theory is not properly before the Court and should not be considered as the

Court evaluates the Motion for Summary Judgment. Plaintiff’s attempt to amend his pleadings

through the Response and reinvent his theory of this case after Trustee Bank dedicated significant

time and resources drafting the Motion should be denied. For the reasons set forth in more detail

below and in the Motion, the Court should grant summary judgment in Defendant’s favor.




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                                                I.     ARGUMENT

         A.        Plaintiff has not pled his statute of limitations theory

         Plaintiff argues, for the first time, that the loan was accelerated in 2008.1 He references his

Proposed Amended Complaint, which is not a live pleading, and alleges that the underlying

mortgage loan debt is void because the statute of limitations has expired. Plaintiff’s new

acceleration theory is outside the Complaint. See Ashcroft v. Iqbal, 556 U.S. 662, 698–99 (2009)

(holding that a properly pleaded complaint must give “fair notice of what the claim is and the

grounds upon which it rests”). Therefore, Plaintiff’s argument that the loan was accelerated in

2008 is not properly before the Court and the Court need not address it. See Cutrera v. Bd. of

Sup'rs of La. State Univ., 429 F.3d 108, 113 (5th Cir. 2005) (“A claim which is not raised in the

complaint but, rather, is raised only in response to a motion for summary judgment is not properly

before the court.”); Sims v. City of Madisonville, 894 F.3d 632, 643 (5th Cir. 2018) (affirming

district court’s refusal to consider unpled factual theory of liability raised for the first time in a

summary judgment response).

         B.        Plaintiff’s Response Fails To Address The Fatal Defects In His Claim For
                   Declaratory Judgment

         Plaintiff’s Response does not address the declaratory judgment claim relating to the

foreclosure notices pled in the live Complaint. Moreover, Plaintiff implicitly admits his claim for

declaratory judgment is defective by abandoning the original claim and incorporating a new statute

of limitations theory while attempting to save his case via amendment. Because there is no fact

issue as to this claim, Trustee Bank is entitled to summary judgment.




1
 Notably, Plaintiff does not attach evidence of notice of default, notice of intent to accelerate, and notice of acceleration
to establish an actual acceleration in 2008. And, Trustee Bank previously explained how any 2007 acceleration was
abandoned. (See Doc. 16 at p. 6-8).

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       C.      Plaintiff’s Tort Claims Are Barred by the Economic Loss Rule

       Plaintiff offers no support for his argument that his fraud in the inducement and fraud by

nondisclosure claims are not barred by the economic loss rule. He fails to explain how his alleged

injury does not arise solely from his mortgage loan agreement. Additionally, he fails to rebut the

argument that any alleged oral representation on which Plaintiff claims he relied is expressly

contradicted by the Deed of Trust. See DRC Parts & Accessories, L.L.C. v. VM Motori, S.P.A.,

112 S.W.3d 854, 858-59 (Tex. App.—Houston [14th Dist.] 2003, pet denied). The economic loss

rule precludes recovery on either claim.

       D.      Plaintiff’s Breach Of Contract Claim Fails

       Plaintiff’s claim that his breach of contract claim should survive summary judgment

because he was in “good standing” on his loan contradicts the summary judgment evidence.

Regardless, Plaintiff fails to address the missing causation and damages elements of his breach of

contract claim. Nor does Plaintiff dispute that the statute of frauds is fatal to this claim. As such,

Plaintiff’s breach of contract claim fails for the reasons stated in the Motion for Summary

Judgment.

       E.      Plaintiff’s Promissory Estoppel Claim Fails

       Plaintiff fails to address Trustee Bank’s argument that promissory estoppel would only be

available here if the promise involved was a promise to sign an existing, written agreement. See

Gordon v. JPMorgan Chase Bank, N.A., 2013 WL 49587, at *4 (5th Cir. Jan. 3, 2013) (“Where,

as here, an oral promise is barred by the statute of frauds, to show promissory estoppel the

promisor must have promised to sign a written document that would satisfy the statute of

frauds.”). In his attempt to explain why his promissory estoppel claim should survive, Plaintiff

actually confirms that the representations at issue are barred by the statute of frauds. Plaintiff


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 argues that he can assert a promissory estoppel claim despite the contract between the parties

 because “the topic is a separate stand-alone agreement” to “defer Plaintiff’s mortgage payment

 obligations as a result of Covid-19 and to restructure the mortgage loan ... not a modification of

 the existing written mortgage loan agreement”. Response at ¶27-28. In other words, Plaintiff

 argues that the parties entered an oral agreement to modify the loan documents or orally created

 a new contract related to the Property—placing the promissory estoppel claim squarely within the

 statute of frauds and dooming Plaintiff’s claim. Plaintiff does not contend that Trustee Bank

 reneged on a promise to sign a loan modification agreement that was already in existence at the

 time of the promise. (See generally the Complaint.). Therefore, Plaintiff’s claim fails.

                                     II.    CONCLUSION

         Plaintiff’s live pleading has no viable claims against Trustee Bank. Accordingly, Trustee

Bank is entitled to summary judgment that Plaintiff take nothing against it. Trustee Bank

respectfully requests that the Court grant its Motion and grant Trustee Bank all other relief to which

it is entitled.


                                               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served upon the following counsel of record via ECF and/or email pursuant to the Federal
Rules of Civil Procedure on this 1st day of September, 2023:

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